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                    Expert Report of Donald L. Zink, Ph.D.




Prepared for:
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Prepared by:
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February 20, 2019




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INTRODUCTION



Qualifications

I am President of the Division of Foods & Regulatory Compliance at IEH Laboratories and
Consulting Group, where I have been employed since November 2015.

I hold a B.S. in Biology from Abilene Christian University (1974); M.S. in Microbiology
from Texas A&M University (1976) and a Ph.D. in Biochemistry and Biophysics from Texas
A&M University (1978).

My consulting practice involves providing technical services to help my clients detect,
prevent and manage foodborne hazards and associated health risks. I am frequently retained
to assess products that have the potential, or were shown, to contain foodborne hazards or
other adulterants. Such consulting often involves advising on responses to product recalls or
illness outbreaks and in the disposition of affected food products.

Prior to my employment by IEH Laboratories and Consulting group, I held several positions
with the U.S. Food and Drug Administration (FDA) and with several different companies in
the food industry. During my career, I conducted research on the nature of foodborne hazards
and controlling foodborne hazards. I have received education and specialized training and I
have over 40 years of experience in food safety.

I held positions at the FDA from 2002 to 2015 in the Center for Food Safety and Applied
Nutrition (CFSAN). My positions included serving as Senior Food Scientist in the Office of
Food Safety (2002 – 2009) and Senior Science Advisor in the Office of the Center Director.
As a Senior Food Scientist, I provided scientific support on food adulteration issues primarily
related to microbiological hazards and on food processing technology related to plant and
dairy foods, beverages and infant formula. I served as the Center’s expert, principal advisor
and spokesperson in matters of regulatory science and research. I also served as the Center’s
principal subject matter expert on food microbiology and food processing and I advised
FDA’s Office of Regulatory Affairs, Office of Chief Counsel and the U.S. Department of
Justice on food adulteration, the significance of foodborne hazards, field investigation
strategy and scientific and technical issues related to the agency’s enforcement and
prosecution activities.

Prior to the FDA, I held positions with three different food companies. Initially, I served as a
Manager of Food Science and Technology at Campbell Soup Company (1983 – 1990). At
Campbell Soup, I became familiar with a variety of different food processes including
canning, frozen food manufacturing, fresh produce processing, baking, poultry processing,
and juice beverages. Following my time at Campbell Soup Company, I went on to hold
several positions with the Carnation Company (a Nestlé Company) and Nestlé USA, Inc. My



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positions with Carnation and Nestlé included being a Manager of Quality Assurance for
Carnation’s Refrigerated Foods Division (1990 to 1991) and ultimately as Director of Food
Safety for Nestlé USA, Inc. (1991 to 2000). After my time with Nestlé, I served as Vice
President of Research and Development and Product Safety for Future Beef, LLC (2000 to
2002), a producer of raw and processed beef products

Prior to my time in the food industry, I held Assistant Professor positions at the College of
Veterinary Medicine at Texas A&M University (1978 to 1980) and in the Department of
Microbiology & Immunology and Department of food Science at the University of Arizona
(1980 to 1983

I have authored over 40 scientific publications on various food safety issues and the control
of foodborne hazards. Additionally, I have received special invitations globally and have
given numerous lectures and presentations on foodborne hazards, risk assessment, food
safety policy and food regulation.

I became a Certified Food Scientist in 2013, I served as a member of the executive board of
the International Association for Food Protection (IAFP) from 2011 to 2016, and as President
of IAFP in 2015. I have received numerous awards during my service with the FDA
including the FDA Award of Merit (2010) and the FDA Distinguished Career Service Award
(2015). A current copy of my curriculum vitae is attached as appendix A.



SCOPE OF WORK AND EXPERT OPINIONS

   1. I was retained by Robert E. McDivitt, III, Esq. of McDonnell & Associates, P.C and
      asked to read and evaluate documents related to litigation involving Noujoud Achkar,
      Joseph Achkar, Wisconsin Cheese Group, LLC and Walmart, Inc. (United States
      District Court, Eastern District of Pennsylvania, No. 5:18-cv-2860). A list of the
      documents I have reviewed is provided in Appendix B.

   2. Based on my knowledge, skill, education, training and experience, I am qualified to
      render an expert opinion in this matter. My opinions flow from conclusions reached
      from reading the above referenced materials as well as my professional knowledge,
      experience, education, skills and training.

   3. On May 1, 2017, Noujoud Achkar purchased a La Morenita Brand queso fresco
      cheese product with a sell-by date of 04/18/17 from the dairy case of a Walmart store
      between the hours of approximately 5:00 and 7:00 PM. The cheese was cold to the
      touch when purchased and was immediately taken home for consumption within less
      than one-half hour.

   4. Noujoud Achkar opened the sealed package with a clean knife, sliced the cheese and
      consumed a single piece of cheese with Pita bread.



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5. Within one hour of consuming the cheese, La Morenita Brand Queso Fresco cheese,
   she fell down. She was transported to the hospital emergency room by ambulance that
   same evening. She was diagnosed with listeriosis on May 3, 2017.

6. The Pennsylvania Department of Health, Lehigh County, received a sample of the
   remaining opened package of queso fresco cheese from the Achkar family on May 8,
   2017. On May 12, 2017, the Pennsylvania Department of Health, Bureau of
   laboratories completed an analysis of the cheese sample and reported finding Listeria
   monocytogenes.

7. Based on the facts and declarations presented to me, I am asked to believe that Mrs.
   Noujoud Achkar became ill within approximately 1 hour of consuming a single slice
   of unopened cheese taken from a previously sealed package of cheese. Based on my
   expert knowledge of the pathogenesis of L. monocytogenes and in consideration of
   Mrs. Achkar’s age and immuno-compromised condition, it is simply impossible for L.
   monocytogenes to infect a host and replicate in the human body to the extent needed
   to cause symptomatic illness within one hour. Whatever the source of Mrs. Achkar’s
   illness, it certainly was not the cheese she consumed less than one hour before
   exhibiting symptoms of illness.

8. In the 4 weeks prior to becoming ill, Noujoud Achkar reportedly consumed (in
   addition to the queso fresco cheese) string cheese (ate), whole milk (ate), butter
   (likely ate), fruit (beans, oranges, fresh red round tomatoes) (likely ate), deli sliced
   ham (ate), and iceberg lettuce (likely ate).

9. A blood specimen was collected from Noujoud Achkar on May 3, 2017 and this
   specimen tested positive for Listeria monocytogenes on that same day.

10. On May 26, 2017, the Pennsylvania health department reported that the clinical
    isolate from Mrs. Achkar was a PFGE match to the cheese sample isolate.
    Subsequently, on June 19, 2017, a total of three clinical isolates and the cheese isolate
    were reported to be highly related by whole genome sequencing. The clinical isolates
    included a patient from New Jersey, a patient from Texas and the isolate from Mrs.
    Achkar from Pennsylvania. The Texas and New Jersey patients reportedly did not
    consume La Morenita Brand Queso Fresco cheese.

11. In a May 19, 2017 email, a CDC epidemiologist communicated that the whole
    genome sequence of the L. monocytogenes isolate from PA (referring to Mrs.
    Achkar’s blood isolate, I think) was a close match to a case of listeriosis in Maine and
    to four environmental swab isolates from Rhode Island.

12. On May 25, 2017, it was reported that New York state had 7 listeria isolates in the
    preceding two months that were a PFGE match to the isolate from Mrs. Achkar and
    the La Morenita Brand Queso Fresco Cheese.




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13. On April 2, 2018, the CDC reopened the investigation due to the finding of three
    additional cases of illness (2 from Iowa and 1 from Indiana) where the clinical
    isolated matched those from Noujoud Achkar and the La Morenita Brand Queso
    Fresco cheese. These three new patients are of Middle Eastern ethnicity and all
    reported consuming Middle Eastern-style cheeses, including an Armenian-style string
    cheese. No common cheese consumption was found and none of the cheese samples
    tested positive for L. monocytogenes.

14. I believe that although the L. monocytogenes isolated from Mrs. Achkar’s blood
    sample and the opened package of queso fresco cheese were highly related by PFGE
    typing and whole genome sequencing, we cannot conclude that the cheese was the
    source of the strain that caused Mrs. Achkar’s illness. It is far more likely that the
    opened package of cheese became contaminated with the matching strain of L.
    monocytogenes from the refrigerator itself or from other foods in the refrigerator that
    were not available for testing by the Pennsylvania Department of Health.

15. Modern food packaging is designed to hermetically seal the food in the package and
    prevent contamination. There is no evidence that the package of cheese purchased by
    Mrs. Achkar on May 1, 2017 had any defect in its packaging or that that it was
    leaking. The packaging material for this cheese would have prevented the cheese
    from becoming contaminated from the environment during warehousing, distribution,
    retail sale, and storage by the consumer. Walmart distribution centers, trucks and the
    retail store could not have been a source of contamination of the cheese.
    Contamination of the cheese could only have occurred during or after the package
    was cut open.

16. The FDA and various state health departments discovered numerous clinical and
    environmental strains of L. monocytogenes that were highly related to the isolates
    from Mrs. Achkar’s blood sample and from the open package of queso fresco cheese.
    Despite the best efforts of these agencies, they were unable to establish any link
    between cases of illness and a specific food. It is interesting to note that several of
    these patients were of Middle Eastern culture and consumed similar cheese products,
    particularly a Middle Eastern-style string cheese. Persons who have suffered serious
    foodborne illness often have difficultly remembering the foods they have consumed
    in the past week or month and this fact often confounds epidemiological
    investigations.

17. FDA inspections of Wisconsin Cheese’s facility on April 26, 2016 and June 28, 2017,
    included collection of environmental samples (83 swabs collected on April 26, 2016
    and 105 swabs collected on June 28, 2017). None of these swabs tested by FDA
    yielded L. monocytogenes. Neither of these inspections found any major
    objectionable conditions and no FDA-483 was issued.

18. FDA reported that “Wisconsin Cheese Group has been testing every vat of cheese
    produced at 1722 12th Street for Listeria monocytogenes for 15+ years and have never
    received a positive result for Lm.” (FDA Records 12-4-18 (52 pages).pdf, page 6).




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19. In its summary of the FDA inspection of June 28, 2017, the Wisconsin Cheese Group
    facility in Monroe, WI reported that they learned from the FDA investigators “. . .that
    another cheese (not produced by Wisconsin Cheese Group), tested positive for Lm
    with the same genetic sequence. This cheese was located in a consumer’s refrigerator
    who complained of illness.” (FDA Records 12-4-18 (52 pages), page 8).

20. All available information suggests that the Wisconsin Cheese Group facility in
    Monroe, WI was operated in an exemplary manner as evidenced by the results of
    comprehensive FDA inspections of this facility both before the date on which the
    implicated queso fresco cheese was manufactured and after the date of manufacture.
    In both of these FDA inspections, agency investigators took substantial numbers of
    environmental swabs and failed to find any evidence of L. monocytogenes. It would
    be interesting to learn more from the FDA about the cheese produced by another
    manufacturer that tested positive for L. monocytogenes with the same genetic
    sequence as that from Mr. Achkar’s blood sample. This cheese could very well be the
    source of the numerous clinical cases with matching DNA sequences.




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SIGNATURE PAGE

Respectfully submitted,




Donald L. Zink, Ph.D.
President – Division of Foods and Regulatory Compliance
IEH Laboratories and Consulting Group




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   Appendix A – Curriculum Vitae of Donald Zink, Ph.D.


PROFESSIONAL EXPERIENCE


IEH LABORATORIES AND CONSULTING GROUP, LAKE FORREST, WA

President – Division of Foods & Regulatory Compliance                          2015 – present

Leads the food safety and food processing consulting group of IEH Laboratories and Consulting
Group. Areas of particular expertise in the microbiological and chemical safety of processed
foods and fresh produce and in-depth experience are low acid canned food thermal processing,
aseptic processing, ice cream production, chocolate and confectionary products, infant formula
production, beverage production (coffee, tea and juices and wine), fermented and acidified
foods, frozen food production, refrigerated food production and baked goods production.

U.S. FOOD AND DRUG ADMINISTRATION, COLLEGE PARK, MD

Senior Science Advisor, CFSAN                                                     2009 – 2015

Served as the Chief Scientist for the U.S. Food & Drug Administration’s Center for Food Safety
and Applied Nutrition, and as advisor to the Center Director on the significance of new and
ongoing scientific developments that affected the Center’s research programs and policies.
Provided advice, consultation, and management oversight to appropriate representatives
associated with partnerships with academia and other consortia. Fostered partnerships and
effective communication with academia, private industry, trade associations, public sector
groups, governmental agencies, commodity groups, and professional organizations.
Served as the Center’s principal subject matter expert on food microbiology and food
processing and interacted with the Center’s Office of Compliance to review and support center
enforcement actions. Served as a subject matter expert for FDA’s Office of Regulatory Affairs
and supported field investigations conducted by the agency and held investigators credentials.
Worked with center stakeholders to develop a research strategy that was aligned with Center
priorities, maintained the center’s research strategic plan and recommended and authorized
new research initiatives. Provided leadership for the development of short-, medium-, and
long-term strategic research program plans. Coordinated CFSAN scientific research with other
federal agencies including USDA, NIH, EPA and DARPA.
Provided authoritative advice, assistance, and recommendations to the Center Director on
scientific disputes and served as the Center’s designated official on issues regarding the
resolution of scientific disputes.




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Represented CFSAN to the Agency's Senior Science Council and to the Office of Food and
Veterinary Medicine’s Science and Research Steering Committee. Represented the Center to
FDA’s Office of the Chief Scientist.
Served as the Center’s expert, principal advisor and spokesperson for science, research and
data needs in communications with top Agency officials, and officials throughout the Federal
government and the scientific and research communities.

Senior Food Scientist                                                             2002 – 2009

Senior Food Scientist with the U.S. Food & Drug Administration, Center for Food Safety and
Applied Nutrition, Office of Plant and Dairy Foods and Beverages. Lead Scientist for food
processing and food microbiological issues related to plant and dairy foods, beverages and
infant formula.


Future Beef Operations, LLC, Parker, CO

Vice-President – R & D and Product Safety                                          2000 - 2002

Responsible for leading research and development activities that add customer and consumer
value to a complete line of fresh beef products. Also, responsible for leading a team of food
safety and meat science professionals to develop strategies and implement processes that
ensure the safety of fresh beef products produced by Future Beef operations.


Nestlé USA, Inc., Glendale, CA

Director – Food Safety                                                             1991– 2000

Responsible for developing and implementing policies that ensured the safety of foods
produced by Nestlè USA, its licensees and co-packers. At the time, Nestlé USA was a company
with $8.0 billion in annual food sales and operated more than 40 manufacturing plants in the
U.S. and had more than 120 licensees and co-manufacturers. Responsible for polices that
ensured the safety of products manufactured by Nestlé USA and its co-manufacturers.
Represented Nestlé USA to food safety and quality leadership of Nestlé, SA in Vevey,
Switzerland.

Carnation Company, Glendale, CA (a Nestlé Company)

Manager – Quality Assurance                                                       1990 – 1991




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Responsible for division quality assurance functions for Carnation Refrigerated Foods Division, a
$150 million producer of refrigerated pasta and sauces. The division operated a single plant in
Danville, VA.

Campbell Soup Company, Camden, NJ

Manager – Food Science & Technology                                                   1983-1990

Responsible for planning and direction of food safety and microbiology research programs
related to product safety and shelf - life. Provided guidance and research support to product
development and marketing groups in the development of new products and processes. These
responsibilities included all product lines of Campbell Soup Company. At the time, Campbell
Soup Company produced both fresh and processed foods with annual sales of $6.5 billion.

The University of Arizona, Tucson, AZ

Assistant Professor                                                                 1980 – 1983

Jointly appointed in the College of Science, Department of Microbiology & Immunology and the
College of Agriculture, Department of Nutrition and Food Science. My research program was
directed to genetic basis of bacterial virulence and food safety. Continued work begun at Texas
A&M University into the genetic basis of virulence for Yersinia enterocolitica. This research
program led to the development of several simple tests for the virulence of this species. We
were able to clone the virulence genes from the Yersinia plasmid into E. coli. Taught upper level
courses in bacterial genetics and pathogenic microbiology.

Texas A&M University, College Station, TX

Assistant Professor                                                                 1978 – 1980

Appointed in the College of Veterinary Medicine, Department of Veterinary Microbiology and
Parasitology. Research program was directed to the genetic and physiological basis of virulence
of Brucella sp. and the development of diagnostic tests for veterinary pathogens. Purified the
exotoxin of Corynebacterium pseudotuberculosis and showed that it was a potent hemolytic
toxin. This toxin later became the basis of a diagnostic test for infection in sheep and goats. I
continued the work with Yersinia that was begun during my graduate studies and at the Centers
for Disease Control. Taught graduate and professional level courses in diagnostic microbiology
and pathogenic microbiology.




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Centers for Disease Control, Atlanta, GA

Visiting Scientist                                                                          1977

As I neared the end of my graduate studies, I received a grant from the National Foundation for
Infectious Diseases to study the virulence of Yersinia enterocolitica, the subject of my graduate
research. The Centers for Disease Control had recently investigated an outbreak of yersiniosis in
upper New York State. I collaborated with other investigators at the CDC and was able to prove
that genes on a plasmid determined the virulence of this organism. This work was published in
Nature. Subsequent studies showed that all species of Yersinia owed their virulence to this
plasmid. This finding explained the long-sought genetic basis for variability in the virulence of
Yersinia pestis, the cause of bubonic plague.


EDUCATION

Abilene Christian University - B.S. - Biology 1974
Texas A&M University - M.S. - Microbiology 1976
Texas A&M University - Ph.D - Biochemistry & Biophysics 1978



SPECIAL ACTIVITIES and ACCREDITATIONS

Dr. Zink serves on various advisory boards for food and dietary supplement companies.
Past President, International Association for Food Protection, 2015 – 2016.
President, International Association for Food Protection, 2014 – 2015.
President-elect, International Association for Food Protection, 2013 – 2014.
Vice President, International Association for Food Protection, 2012 – 2013.
Secretary, International Association for Food Protection, 2011 – 2012.
Member and Sub-Committee Chairman, National Advisory Committee on Microbiological
Criteria for Foods, 2003 – 2011.
Vice-Chairman, Committee on Food Microbiology, International Life Sciences Institute,
Washington, D.C. 1999 – 2002
Vice-Chairman, Committee on Program and Technical Review of the U.S. Army Natick Research,
Development and Engineering Center, National Academy of Sciences, National Research
Council, Commission on Engineering and Technical Systems, 1994-1997.


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Member, Advisory Board, Center for Food Safety, College of Agriculture, Texas A&M University,
College Station, TX 1997-1999
Chairman, Microbiological Safety and Control Working Group, Grocery Manufacturer’s of
America, Washington, D.C. 1996 – 2000
Member, Human Systems Panel - Laboratory Infrastructure Capabilities Study of the Institute
for Defense Analysis. Study conducted for Department of Defense, 1994.
Lead Judge, Jr. Division, Biochemistry Section, California State Science Fair, 1995 – 2000
Certified Food Scientist – 2013 to 2018, renewable
Certified HACCP Instructor – International HACCP Alliance
Foundation Lecturer, American Society for Microbiology, 1984-85




PUBLICATIONS

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     characteristics of Yersinia enterocolitica from meats. Contr. Microbiol. Immunol. 5: 234-
     242.

5.   Zink, D.L., J.C. Feeley, J.G. Wells, J.C. Vickery, W.R. Roof, C. Vanderzant and G.A.
     O'Donovan. 1980. Plasmid-mediated tissue-invasiveness in Yersinia enterocolitica. Nature
     283: 224-226.

6.   Heck, F.C., J.D. Williams, J. Pruett, R. Sanders, and D.L. Zink. 1980. Enzyme-linked
     immunosorbent assay for detecting antibodies to Brucella abortus in bovine milk and
     serum. Am. J. Vet. Res. 41: 2082-2084.




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7.   Twedt, R.M., D.F. Brown, and D.L. Zink. 1981. Comparison of plasmid deoxyribonucleic
     acid contents, culture characteristics and indices of pathogenicity among selected strains
     of Vibrio parahaemolyticus. Infect. Immun. 33(1): 322-325.

8.   Heck, F.C., Williams, J.D., Zink, D.L., Gilmore, W.C., and Adams, L.G. 1981. Serologic profile
     for a cow experimentally infected with Brucella abortus. British Veterinary Journal
     137(5):520-6.

9.   Foltermann, K.F., J.R. Wild, D.L. Zink and G.A. O'Donovan. 1981. Regulatory variance of
     aspartate transcarbamylase among strains of Yersinia enterocolitica and Yersinia
     enterocolitica-like organisms. Current Microbiol. 6: 43-47.

10. Dubel, J.R., D.L. Zink, L.M. Kelley, S.A. Naqi and H.W. Renshaw. 1982. Bacterial antibiotic
    resistance: incidence of gentamicin resistant strains of Escherichia coli in the fecal
    microflora of commercial turkeys. Am. J. Vet. Res. 43: 1786-1789.

11. Zink, D.L., R.V. Lachica and J.R. Dubel. 1982. Yersinia enterocolitica and Yersinia
    enterocolitica-like species: their pathogenicity and significance in foods. J. Food Safety
    4(4): 223-241. DOI:10.1111/j.1745-4565.1982.tb00447.x

12. Lachica, R.V. and D.L. Zink. 1984. Determination of plasmid-associated hydrophobicity of
    Yersinia enterocolitica by a latex particle agglutination test. J. Clin. Microbiol. 19(5):660-
    663.

13. Lachica, R.V and D.L. Zink. 1984. Plasmid-associated cell surface charge and
    hydrophobicity of Yersinia enterocolitica. Infect. Immun. 44(2): 540-543.

14. Lachica, R.V., D.L. Zink and W.R. Ferris. 1984. Association of fibril structure formation with
    cell surface properties of Yersinia enterocolitica. Infect. Immun. 46(1): 272-275.

15. Hsu, T.-S., H.W. Renshaw, C.W. Livingston, Jr., J.L. Augustine, D.L. Zink and B.B. Gauer.
    1985. Corynebacterium pseudotuberculosis exotoxin: fatal hemolytic anemia induced in
    gnotobiotic neonatal small ruminants by parenteral administration of preparations
    containing exotoxin. Am. J. Vet. Res. 46: 1206-1211.

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    Processors Association. 1988. Safety considerations for new generation refrigerated
    foods. Dairy and Food Sanitation 8: 5-7.

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    Processors Association. 1988. Factors to be considered in establishing good
    manufacturing practices for the production of refrigerated foods. Dairy and Food
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18. Microbiology and Food Safety Committee of the National Food Processors Association.
    1991. Good Laboratory Practices - Food Microbiology Laboratories. Dairy, Food and
    Environmental Sanitation 11: 716-720.

19. Elliott, P. H., Evancho, G. M. and D. L. Zink. 1992. Microbiological evaluation of low-acid
    aseptic fillers. Food Technology 46(5): 116 & 118-122.

20. Microbiology and Food Safety Committee of the National Food Processors Association.
    1993. Implementation of HACCP in A Food Processing Plant. Journal of Food Protection.
    56(6): 548-554.

21. National Research Council. 1996. World-Class Research and Development. Characteristics
    for an Army Research, Development and Engineering Organization. National Academy
    Press, Washington, D.C.

22. National Research Council. 1997. Assessment of the U.S. Army Natick Research,
    Development and Engineering Center. National Academy Press, Washington, D.C.

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    Emerg. Infect. Dis. 3(4): 467-469.

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    Food Science] 69(2): 47.

25. National Advisory Committee on Microbiological Criteria for Foods. 2005. Considerations
    for Establishing Safety-Based Consume-By Date Labels for Refrigerated Ready-to-Eat
    Foods. J. Food Protect. 68(8):1761-1775. Note: Dr. Zink served as Chairman of the sub-
    committee that authored the report.

26. Sertkaya, A., Berlind, A., Lange, R. and Zink, D.L. 2006. Top Ten Food Safety Problems in
    the United States Food Processing Industry. Food Protection Trends. 26(5):310-315.

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    International Outbreak of Botulism with Prolonged Toxemia Caused by Commercial Carrot
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    Determining Inoculated Pack/Challenge Study Protocols. J. Food Protect. 73(1): 140-202.
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29. Sachdeva, A., Defibaugh-Chavez, S.L.H., Day, J.B., Zink, D., Sharma, S.K. 2010. Detection
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41.    Praseeda Mullasseril1, Nagarajan Thirunavukkarasu1, Gowri Manickam1, Ajay Singh2,
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       Hammack1, and Shashi Sharma1. 2017. Immuno-PCR Assay for the Detection of Type A, B,
       E, and F Botulinum Neurotoxins in Food Matrices. (manuscript submitted to Applied and
       Environmental Microbiology)


PRESENTATIONS (Partial Listing)

      1. 103rd Annual Meeting of the American Society for Microbiology. May 18 – 22, 2003.
         Emerging Foodborne Pathogen – Enterobacter sakazakii. (Symposium)

      2. 12th World Congress of Food Science and Technology. July 19, 2003. Chicago, IL. Food
         Security in a Global Economy (Roundtable Session).

      3. Ivan Parkin Lecture. International Association for Food Protection. August 10, 2003. On
         the Trail of Food Safety – From the Early Days to the Future.




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4. 2003 Annual Meeting of the International Association for Food Protection. August 10 –
   14, 2003. Process Control Strategies for Reducing Foodborne Listeriosis. In the
   Symposium Session “Use of Food Safety Objectives and Other Risk-based Approaches to
   reduce Foodborne Listeriosis. (Invited Speaker)

5. John L. Etchell’s Memorial Lecture, North Carolina State University. April 12, 2007.
   "Emerging Food Safety Issues: Recent Outbreaks and Food Safety Implications". (Invited
   Speaker)

6. 2007 Annual Meeting of Pickle Packers International. October 3, 2007. Memphis, TN.
   Emerging Food Safety Issues. (Invited Speaker).

7. McDonald’s Sanitation and Food Safety Workshop. October 9 – 10, 2007. “What’s New
   at FDA – Priorities and Emerging Issues.” Oak Brook, IL (Invited Speaker)

8. 2009 Annual Meeting of the International Association for Food Protection. July 12 – 15,
   2009. Regulatory Implications of Persistence in the Processing Environment, the
   Product, and Primary Production. In the Symposium Session: “Pathogen and Spoilage
   Persistence in the Processing environment and Food Products: Where, Why and How Do
   We Know.” (Invited Speaker)

9. 2009 FDA Southeast Region Annual Retail Food Safety Seminar. November 3 – 5, 2009.
   “Emerging Pathogens of Concern.” Held at Myrtle Beach, SC. (Invited Speaker)

10. Center for Produce Safety – Produce Research Priorities Meeting. June 24, 2010.
    “CFSAN Fresh Produce Research Priorities.” Held at UC – Davis Mondavi Center, Davis,
    CA. (Invited speaker)

11. 2010 FDA Denver District Staff Conference. July 13 – 15, 2010. “Preventive Controls.”
    Held at Colorado School of Mines, Golden, CO. (Invited speaker)

12. 3rd Annual Molecular Methods in Food Microbiology Symposium and Workshop Series.
    June 28, 2010. Molecular Epidemiology: It’s Impact in the Fight to Control Salmonellosis.
    Held at Colorado State University. (Keynote Address).

13. 2010 Annual Meeting of the International Association for Food Protection. August 1 – 4,
    2010. Environmental Sampling Sites Versus Food Contact Surfaces - If, When and Where
    to Sample (Regulatory Perspective) in the Symposium Session: “Microbiological
    Environmental Testing and Validation: Leading-edge Issues for Low-moisture Foods.”
    (Invited Speaker)

14. 2010 Annual Meeting of the International Association for Food Protection. August 1 – 4,
    2010. FDA Perspectives on the Need for Multidisciplinary Approaches to Food Safety. In



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   the Symposium Session: Human Pathogens Associated with Edible Plants (co-organizer
   of the symposium)

15. 2010 Annual Meeting of the International Association for Food Protection. August 1 – 4,
    2010. New and Emerging Food Safety Regulations Related to Testing, Records Access
    and the Food Registry. In the Symposium Session: Food and Food Environment Test
    Considerations in View of Changing Regulations (invited symposium speaker)

16. 87th Annual Conference of the New York State Association for food Protection.
    September 22, 2010. “Impact of New Technologies on Food Safety.” Held at the
    Doubletree Hotel in East Syracuse, NY. (Invited speaker)

17. 9th Annual York College – FDA Food Safety Workshop. November 2, 2010.
    “Environmental Sampling – Why do it and what to expect.” Held at York College,
    Jamaica, NY. (Invited speaker)

18. 114th Annual Meeting of the United States Animal Health Association. November 11 –
    17, 2010. Minneapolis, MN. Assessment of Food as a Source of Exposure to
    Mycobacterium avium subspecies paratuberculosis (MAP). (Invited speaker)

19. 2011 International Life Science Institute Annual Meeting. January 24, 2011. “A New
    Approach to Targeting Inspection Resources and Identifying Patterns of Adulteration:
    The Reportable Food Registry.” Held at Lake Buena Vista, FL.

20. 2011 Personal Care Products Council Science Summit. April 13, 2011. “Science and the
    New Administration.” Held at the Madison Hotel, Washington, DC. (Keynote Address)

21. 2011 Annual Meeting of the International Association for Food Protection. July 31 – 4,
    2011. FDA Approach - Risk Prioritization for Inspections, Microbiological Sampling and
    Egg Rule Implementation. (Invited speaker)

22. 2011 Annual Meeting of Central Atlantic Association for Food Protection, Rutgers
    University.

23. 2012 Joint Institute for Food Safety and Applied Nutrition. Advisory Council 2012 Spring
    Symposium. May 16, 2012. Turning the page from “chemo and microphobia” to “Food
    Safety” – Microbiological Issues. (Invited speaker)

24. 2012 Annual Meeting of the International Association for Food Protection. July 22 – 25,
    2012. Salmonella in Low-moisture Foods: Challenges and Potential Solutions. (Invited
    symposium speaker)




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25. 2012 11th Annual Meeting of the Brazilian Association for Food Protection. "Foodborne
    Disease Outbreak Detection – Today's Reality and the Promise of the Future." Held in
    Sao Palo, Brazil. (Invited speaker)

26. 2013 Annual Meeting of the International Association for Food Protection. July 28 – 31,
    2013. Call to Action – Let’s Put Water on a HACCP Plan. (Invited roundtable speaker)

27. 2013 Annual Meeting of the International Association for Food Protection. July 28 – 31,
    2013. What is Dry Cleaning vs. Dry Sanitation? What Defines a Dry Plant? (Invited
    symposium speaker)

28. 2014 Annual Meeting of the International Association for Food Protection. August 3 – 6,
    2014. Food Safety Issues in India – the U.S. FDA Perspective. (Invited symposium
    speaker)

29. 2014 Annual Meeting of the International Association for Food Protection. August 3 - 6,
    2014. “Plant Construction Problems That Have Been Identified as Direct Factors in an
    Outbreak.” (Invited symposium speaker)

30. 5th Annual Meeting of the Quebec Association for Food Protection. September 17 – 18,
    2014. “Food Safety Strategy and Future Needs. Held in Levis, Quebec, Canada. (Invited
    speaker)

31. 2015 European Symposium on Food Safety. April 20 – 22, 2015. “Listeria
    monocytogenes: Recent U.S. Outbreaks and Implications for Control in No Growth
    Foods.” Held in Cardiff, Wales, UK (Invited Speaker)

32. 2015 Department of Nutrition and Food Science Research Day. May 1, 2015. “Current
    Issues in food Safety and Nutrition: Science Struggling to be Heard”. National
    Agricultural Library, Beltsville, MD (Keynote Speaker).

33. 2015 Annual Meeting of the New York State Association for Food Protection.
    September 22 – 23, 2015. “Listeria research at FDA-CFSAN.” Syracuse, NY (invited
    speaker).

34. 2016 Arkansas Association for Food Protection Annual Conference. September 13 – 15,
    2016. “The Changing Face of Food Safety.” Fayetteville, AR (invited speaker).

35. 2016 Washington State Association for Food Protection Annual Conference. September
    21 – 23, 2016. Hot Topics in Food Safety. Chelan, WA (invited speaker).




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   Appendix B

The following documents were provided in electronic form to Dr. Donald Zink for review and
consideration in preparing this expert report:

1. Complaint.pdf
2. Deposition Transcript – Achkar, Noujoud.pdf
3. FDA Records 12-4-18 (52 pages).pdf
4. P’s Expert Report Michael Sulzinski 1-17-19.pdf
5. PA Dept of Health Records 11-5-18 (16 pages).pdf
6. PA Dept of Health Records 12-7-18 (124 pages).pdf
7. WM’s Answers to P’s Rogs 11-23-18.pdf
8. WM’s Answers to Wisconsin Cheese’s Rogs 11-23-18.pdf
9. WM’s Response to P’s RFPD 11-23-18.pdf
10. WM’s Response to Wisconsin Cheese’s RFPD 11-23-18.pdf
11. Zink encl records for review 2-8-19.pdf




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